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                           Attachment B

                                   [SEALED]
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                 1                        IN THE UNITED STATES DISTRICT COURT

                 2                        IN AND FOR THE DISTRICT OF DELAWARE

                 3                                                  - - -
                      XCOAL ENERGY & RESOURCES,                                  :   CIVIL ACTION
                 4                                                               :
                                     Plaintiff,                                  :
                 5    v                                                          :
                                                                                 :
                 6    BLUESTONE ENERGY SALES CORPORATION,                        :
                      SOUTHERN COAL CORPORATION, and                             :
                 7    JAMES G. JUSTICE, II,                                      :   NO. 18-819-LPS

                 8                   Defendants.
                                                                    - - -
                 9
                                                   Wilmington, Delaware
                 10                             Wednesday, August 26, 2020
                                                  Bench Trial - Volume B
                 11
                                                                    - - -
                 12
                      BEFORE:             HONORABLE LEONARD P. STARK, Chief Judge
                 13
                                                                    - - -
                 14       APPEARANCES:

                 15
                                     BUCHANAN INGERSOLL & ROONEY, PC
                 16                  BY: GEOFFREY G. GRIVNER, ESQ.

                 17                       and

                 18                  BUCHANAN INGERSOLL & ROONEY, PC
                                     BY: KEVIN P. LUCAS, ESQ., and
                 19                       DANIEL C. GARFINKEL, ESQ.
                                          (Pittsburgh, Pennsylvania)
                 20
                                                  Counsel for Plaintiff
                 21

                 22
                      Valerie J. Gunning                             Brian P. Gaffigan
                 23   Official Court Reporter                        Official Court Reporter

                 24

                 25




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     APPEARANCES: (Continued)

 2                                                                          1   Yes, I'm there.
            POTTER ANDERSON & CORROON, LLP
 3          BY: JOHN A. SENSING, ESQ.                                       2                THE COURT: Good morning, Brian. Okay.

 4             and                                                          3                Is Mr. Sensing in? Mr. Sensing?

                                                                            4                MR. HEIM: He is still joining.
 5          THE GETTY LAW GROUP, PLLC
            BY: RICHARD A. GETTY, ESQ., and                                 5                Here he comes.
 6             DANIELLE HARLAN, ESQ.
               (Lexington, Kentucky)                                        6                THE COURT: Marco, are we still waiting for
 7
               and                                                          7   Mr. Sensing?
 8
            McGUIRE WOODS, LLP                                              8                Marco?
 9          BY: GEORGE TERWILLIGER, ESQ.                                    9                I'm guessing that Marco stepped out to go find
               (Washington, District of Columbia)
10                                                                         10   Mr. Sensing because I don't see either of them listed here
                     Counsel for Defendants
11                                                                         11   so we'll wait.

12                                                                         12                MS. HARLAN: John has advised Rich on a

                                                                           13   cellphone call that he is having technical issues, but he's
13
                                                                           14   trying to resolve them.
14
                                                                           15                THE COURT: Thank you for that. We'll give them
15
                                                                           16   a few moments.
16
                                                                           17                MR. TERWILLIGER: Judge, while we're waiting --
17                                                                         18   this is George Terwilliger. I just wanted to thank you for
18                                                                         19   allowing me to appear on very short notice on this matter.

19                                                                         20   I appreciate it.

20                                                                         21                THE COURT: Good morning and welcome. And I'm

                                                                           22   glad your computer seems to be working just fine.
21
                                                                           23                MR. TERWILLIGER: Thank you. Thank you, Judge.
22                   - oOo -
23               PROCEEDINGS                                               24                MR. SENSING: Good morning, Your Honor. This is
24          (REPORTER'S NOTE: Side bar conference. The
25   following portion ordered sealed by the Court, contained herein.)     25   John Sensing. I understand that -- I got kicked out of the

                                                         102                                                                               104



 1               MR. SENSING: Marco, I'm not sure if everybody              1   breakout room, and I think folks may have been waiting for

 2   is getting a message saying that the breakout room will                2   me to get back so I wanted to let you know I'm back.

 3   close in 30 seconds.                                                   3                THE COURT: We were, and I'm glad that you are

 4               No?                                                        4   back. And so I now think everyone who needs to be here and

 5               MR. LUCAS: Yes, I am.                                      5   only everyone who needs to be here is here.

 6               MS. HARLAN: I got the same message.                        6                So with that, Mr. Lucas, you may proceed.

 7               MR. GARFINKEL: This is Dan. I have the same                7                MR. LUCAS: Your Honor, thank you. Thank you

 8   message as well.                                                       8   very much.

 9               MR. SENSING: I don't think Marco is here to                9                If I could indicate, address upfront, again,

10   save us either.                                                       10   before I get into substance, comments made this morning

11               MS. HARLAN: Kevin is in the courtroom speaking            11   concerning the letter of last evening.

12   with Marco right now.                                                 12                And I will tell you, and I'm sure we will hear

13               (Virtual sidebar conference ends.)                        13   it again, I have been accused this morning of sharp practice

14               *     *   *                                               14   in fairly vocal terms, and I'm fully prepared to address any

15               (Virtual sidebar conference.)                             15   of the questions or the issues that the other counsel or the

16               THE COURT: Okay. My screen says I'm now in a              16   Court has.

17   breakout room. And I can see Mr. Getty and Mr. Lucas. And             17                Your Honor, you also mentioned in your opening

18   here comes Marco.                                                     18   comments that the letter last night says that the plaintiff

19               Are the folks who are supposed to be in the               19   joins in the request as opposed to does not oppose.

20   sidebar and only those folks in there?                                20                That is, in fact, true. In fact, I changed it

21               Marco, can you confirm that?                              21   from does not oppose to join because in a recent similar

22               MR. HEIM: Correct. I confirm that.                        22   situation, we filed a do not oppose, and you had us re-file

23               THE COURT: Okay. And Brian, good morning. You             23   something that said that is not a position.

24   are there; right?                                                     24                So I'm doing the best -- believe me, I'm doing

25               THE COURT REPORTER: Good morning, Your Honor.             25   the best I can in a difficult situation, and it's not my

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 1    intention to get a leg up on anyone here.                                 1   transcript, including some comments that Your Honor had

 2                 What happened was last night we were working --              2   made, and I will tell you, I came away with the impression

 3    the reason why you got the letter, I guess, at 8:53, is                   3   that, at least my view going in, is that the Court would

 4    that counsel were in discussions back and forth on these                  4   not necessarily follow whatever the parties might suggest.

 5    circumstances. And I was trying to further assess going                   5   The Court might have other alternatives. I think you had

 6    into those calls, you know, what my position and situation                6   suggested yesterday some options that, you know, you thought

 7    really is.                                                                7   people might make, there might be other options.

 8                 And so the end result I put in the letter last               8               And so I thought more about that. And,

 9    night, and counsel agreed to put in the letter, with great                9   frankly, one of the things I focused on was in light of

10    reluctance the plaintiff joins in the defendants' request,               10   my considerations, that this is a nonjury trial; and,

11    which request raises ethical issues of counsel with respect              11   therefore, the Court has a lot of -- more control over

12    to nonparty witnesses that will require additional time to               12   sequencing and conducting a trial than we would if this

13    address.                                                                 13   was a jury trial, a lot more practical capabilities.

14                 And I realize that is cryptic. And I thought                14               So my thought was this, Your Honor, in, you

15    you might, you know, be scratching your head what exactly                15   know, in a big sense, is that was perhaps for consideration

16    am I saying. Because I'm trying to be careful here, Your                 16   hold the motion to adjourn in abeyance, just hold it in

17    Honor. These are nonparties that are involved, the                       17   abeyance, and you can decide it whenever, whenever you think

18    allegations are serious. The source of the allegations                   18   it appropriate in the next several days presumably, but hold

19    are highly suspect and unauthenticated. And as I said,                   19   it in abeyance.

20    I'm trying to balance a number of considerations here.                   20               That would be No. 1.

21                 I'm going to be calling witnesses. As you                   21               In yesterday's conference, you had laid out on

22    mentioned yesterday, the next two witnesses are two                      22   page 82 one potential option. I call it the Option No. 1

23    people -- I mean, after Mr. Thrasher, if the trial goes                  23   just because it came first on page 82, but this idea is,

24    forward at this time, that are named in the letter of                    24   well, maybe we go forward and just without the letter. The

25    yesterday. They're nonparties. And also the other two                    25   letter is not in the record, just go forward as if it never

                                                              106                                                                           108



 1    parties are companies that are named in the letter could                  1   happened, and we'll have the trial that way.

 2    become witnesses or rebuttal witnesses down the road. SGS                 2               So that was an option. Clearly you weren't

 3    was already named on our witness list, and I had told                     3   saying that was what you were going to do, but that was an

 4    Mr. Getty when he and I discussed and exchanged who each                  4   option.

 5    side was likely to call, you know, as opposed to who they                 5               And so I thought, thinking about this, in those

 6    listed as potential witnesses that we may very well call                  6   circumstances and the concern about third-party witnesses

 7    them in rebuttal.                                                         7   and the Court's comments about wanting to, you know --

 8                 So, No. 1, I just want the Court to realize and              8   having prepared for the trial and wanting to make good use

 9    opposing counsel to realize that at least from my point of                9   of the time set aside, would it be something that the Court

10    view, I'm trying to deal with a difficult situation as best              10   would want to consider, and maybe all parties consider, both

11    I'm able. And the problem here with the nonparty witnesses,              11   the Court would want to consider, holding the motion to adjourn

12    Your Honor, is I don't represent these people. I can't                   12   in abeyance and going forward with the case as indicated but

13    advise them. I'm operating under a sequestration order                   13   with the nonparties not testifying at this time.

14    which I'm trying to be extremely careful about.                          14               So with the parties testifying, going forward

15                 And so I'm not really in a position at this                 15   with the testimony, if the Court feels that is an option

16    point, or at least haven't felt to be in a position, to be               16   that the Court would prefer, or if that just is the option

17    able to address these matters with those witnesses, and                  17   that makes most sense at this point. That would give us the

18    perhaps they would want counsel of their own separate, as I              18   time and the ability, Your Honor, No. 1, for all of us to go

19    said, I'm not their counsel and that type of thing.                      19   forward and have more information when the time -- you know,

20                 And so these issues are real. That is what I                20   a decision is made.

21    was attempting to address and at least to alert the Court.               21               In the meantime, we can consider what needs

22                 I want back last night, I got some sleep, not a             22   to be done. "We," I mean everyone in terms of the

23    good night, but I got some sleep last night, and I had a                 23   sequestration order as well, in terms of advising the

24    chance to think a little bit more about what we talked about             24   nonparties of what has happened.

25    yesterday. I had a chance to look over portions of the                   25               I mean, I'm in the situation, Your Honor, that

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 1   if the trial goes forward today, for example, Mr. -- you               1   agreeable to. I mean, you may, you may not. But it's not

 2   know, my client, Mr. Thrasher, is a party and so I represent           2   something that I thought that, you know, that was -- it was

 3   him. I feel we can make decisions, informed decisions on               3   a done deal if that were the case.

 4   his behalf, or he can make them represented by counsel. But            4                So it's not my intention. If there is some

 5   Mr. Taylor, you know, Mr. Payne, and then possibly SGS or              5   potential prejudice to any of the plaintiff's counsel in

 6   Standard Labs, to the extent that they would become now                6   terms of the testimony going forward today and they were

 7   relevant or want to be called, these would all be people we            7   somehow anticipating it wouldn't go forward today, I'm

 8   don't represent.                                                       8   flexible, obviously. I mean, you know, if it goes forward

 9              And so I would need to know, I would think, that I          9   tomorrow or something if the Judge wants to -- Your Honor

10   can disclose to these people what they need to know so they           10   wants to pursue this alternative.

11   can make an informed decision as to whether or not to testify.        11                I mean, it's not my intention to snooker anyone.

12              My big concern, Your Honor, just my big concern            12   Please accept that representation.

13   was if you decided to go forward, if you decided on whatever          13                And the other thing that we talked about last

14   basis you wanted to go forward with testimony, if I have to           14   night, and it's in the letter, I'm fully in favor of -- in

15   go forward with calling or not calling a nonparty witness in          15   fact, you know, we had raised the issue -- about forensic

16   this case, it is a very, very uncomfortable position.                 16   preservation with respect to the letter in question.

17              And I hope Your Honor shares my view. I mean,              17                I mean, so that's really the background, Your

18   I'm not a criminal lawyer, my background and whatnot, it's            18   Honor, but I thought that I needed to raise this to you

19   an issue where I would be calling these people as witnesses,          19   first because if you came back to me later and said, well,

20   the extent to which I can make disclosures to them is                 20   wait a minute, after you decided how you were going to rule

21   uncertain at this point, particularly with the sequestration          21   and ask me why I didn't tell you sooner, and obviously

22   order.                                                                22   particularly in light of the incident kind of we had

23              They're not aware of, at least from me, this               23   yesterday, I wanted to make sure plaintiff's counsel were

24   letter at this point in time, and they may want to, you               24   aware of what I had thought, and, you know -- I mean, I

25   know, make some decisions or consult counsel of their own             25   talked to the client this morning, very early, at 7:15 or

                                                             110                                                                         112



 1   choosing to make that decision.                                        1   thereabouts. I tried to set up a conference call for 8:00

 2              So that was the reason, that was the reasoning              2   o'clock. Obviously they weren't expecting it so we had the

 3   on which, when last evening when we talked with defendants'            3   call a little bit later.

 4   counsel, that we decided to join in the motion, you know,              4                I told them what this proposal was going to be,

 5   with reluctance. But it was that -- and that's what my                 5   so they would have the opportunity. So like I said, I put

 6   language is intended to reflect and kind of alert you to               6   that out for the Court's consideration, and obviously I'm

 7   these nonparty considerations.                                         7   more than happy to answer any questions that the Court might

 8              But what I -- like I said, what I was most                  8   have.

 9   concerned about when I thought about it overnight is that              9                Thank you, Your Honor.

10   if Your Honor decided, well, I hear the parties' position             10                THE COURT: Thank you. I do have a few before

11   but I want to go forward, I'm in an impossible position,              11   we turn it over to defendants.

12   Your Honor, as far as I'm concerned, and an unfair position           12                The ethical issues referred to in the letter and

13   to these nonparties to be in a position to call them as               13   then again this morning, you don't have any ethical issues

14   witnesses, you know. Or for me to even talk to them further           14   with respect to your client, that is you are fully prepared

15   about these matters, just to call them as a witness period,           15   to proceed with respect to the party witnesses and, in

16   but they're an uninformed, unrepresented witness, to make a           16   particular, your own client. Is that correct?

17   determination as to whether or not they want to -- whether            17                MR. LUCAS: I would like -- yes. Under the

18   they want to testify under these circumstances.                       18   option, what I called the number one option, the Court would

19              And so that's it. It's not intended, Your                  19   always have the ability to have Mr. Thrasher come back in

20   Honor. Believe me, it's not intended to be sharp practice.            20   and testify at a later time, but, yes, if we're going to go

21              I could understand, you know, why counsel would            21   forward as if we were going to go forward the day before

22   say, I thought we had a deal last night. As I said to them            22   yesterday, then, you know, Mr. Thrasher can make and Xcoal

23   last night and I repeated to them this morning, at least              23   can make that determination, and we represent Xcoal. So,

24   it was my understanding yesterday that even if we had a               24   yes, I feel comfortable we can make that informed

25   deal, it doesn't mean it was a deal that Your Honor would be          25   determination, or he can make that decision on an informed

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 1    basis.                                                                 1   defendants if that's acceptable.
 2                THE COURT: I would not have thought that the               2               THE COURT: I did not mean to exclude you.
 3    sequestration order precluded anyone from providing this               3               MR. SENSING: Not a problem at all, Your Honor.
 4    letter to witnesses, to non-party witnesses. I would have              4               So as Mr. Lucas said, as of last night at
 5    thought the sequestration order, you know, limited access to           5   9:00 p.m., Your Honor, we had an agreement to adjourn
 6    the trial proceeding. Whether or not that is what the order            6   this trial to engage in discovery on this letter and to
 7    would literally say at this point, do you have any objection           7   really try to get to the bottom of what are some pretty
 8    to me making it clear that this letter can be shared with              8   explosive allegations in the letter. And as Mr. Lucas
 9    all witnesses, including non-parties, and then they can make           9   said, originally, he took no position on it and he joined
10    their own determinations as to whether they need to retain            10   in that request.
11    counsel or not?                                                       11               So our view is that that letter is, it's in
12                MR. LUCAS: No, Your Honor. I mean, if I                   12   agreement of the parties. I view the letter that I
13    overly, overly read the extent of the sequestration order             13   submitted last night at 8:53 as akin to a stipulation
14    under the circumstances, I tried to proceed in a precautious          14   between the parties, which is binding on the parties,
15    manner, but certainly, I do not have a problem that these             15   subject, of course, to Your Honor's approval.
16    witnesses could be made aware of the letter and then they             16               So now we come in this morning and have a phone
17    have a period of time and they're going to have to at least           17   call with Mr. Lucas at about 8:30 where we have this new
18    decide whether they want to, you know, retain counsel and             18   proposal, which is, to be candid, we viewed as a bait and
19    get separate opinions.                                                19   switch, Your Honor. And, you know, the issue here, and what
20                So that, it seems to me, the trial for this               20   I think is going on, is, and I think Mr. Lucas answered Your
21    week, at least in my mind would have to be, would have to be          21   Honor's question on this is he wants to avoid Mr. Thrasher
22    postponed or adjourned, but, like I said, no. If the Court            22   having to have anything to do with that letter, and we think
23    tells me that I have to, makes clear that I have the                  23   we should be able to use that letter with Mr. Thrasher's
24    ability to do that, then I have no objection, Your Honor.             24   testimony. We think we need to have discovery on that
25    The letter is there. It has been filed with the Court.                25   letter prior to its use.

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 1    Mr. Getty had indicated he thinks that he may have some                1               And a lot of Mr. Lucas's argument was saying,
 2    obligations to submit it to, you know, authorities. I think            2   and I agree with most of this where he says, look. There's
 3    those are all relevant matters that any kind of non-party              3   a lot of non-party issues involved here, and I think he's
 4    witness would want to know about. So I would welcome that              4   exactly right, and I think those are all great reasons for
 5    kind of clarification.                                                 5   the 45-day discovery adjournment that we proposed in the
 6                THE COURT: And does Mr. Thrasher know of the               6   joint letter last night.
 7    letter and is he prepared to testify as early as today?                7               But I do want to correct Mr. Lucas to the
 8                MR. LUCAS: Mr. Thrasher is aware of the letter.            8   extent where he was implying that only non-parties are
 9    He is prepared to testify earlier today under the number one           9   implicated in that letter, because Mr. Thrasher absolutely
10    option, Your Honor. Again, if there's something different.            10   is implicated in that letter. And it is our position that
11    But his option that that letter is not going to be part of            11   before Mr. Thrasher testifies, we need to have discovery
12    the examination, cross-examination.                                   12   on that. We need to be able to use that letter, and I
13                THE COURT: But he's not prepared, or at                   13   understand at some point, we're probably going to have an
14    least it would not be your preference to go forward with              14   evidentiary argument about that letter and what we can do
15    Thrasher's ttestimony if I were to permit the letter to be            15   with it.
16    used as part of that examination?                                     16               But in our view, it is prejudicial to us for
17                MR. LUCAS: I would say it's certainly not                 17   Mr. Thrasher to testify today whether or not we can use the
18    my preference, Your Honor. On the, on the other question,             18   letter because there has been no discovery vis-à-vis the
19    I would have to get clarification from Mr. Thrasher on                19   letter with the third parties, with others. And that was
20    that.                                                                 20   what Xcoal agreed to last night and that's an agreement that
21                THE COURT: Okay. All right. Thank you.                    21   we think Your Honor should enforce this morning.
22                Mr. Getty, tell me what you would like me to              22               THE COURT: All right. Mr. Sensing, what would
23    know and particularly how you'd like me to proceed.                   23   be your position on a middle ground, where, you know, we
24                MR. SENSING: This is John Sensing, Your Honor.            24   adjourn essentially for today -- well, first answer this.
25    Good morning. I was going to handle this argument for the             25   Any objection to the letter being shared with the non-party
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 1   witnesses?                                                                1               THE COURT: Mr. Getty?

 2                MR. SENSING: No, I don't think I have an                     2               MR. GETTY: I would just concur with what

 3   objection to that. I mean, I think in discovery, you know,                3   Mr. Sensing said. I think this puts us at a disadvantage.

 4   I had envisioned in the discovery procedure, it was going to              4   We thought we had an agreement and we've relied on that.

 5   get shared with those non-parties at some point anyway, so,               5               I was very surprised at the turnaround so late

 6   I mean, subject to working out the parameters of that, I'm                6   this morning, and I think if we have an agreement, it's

 7   sure we can. I don't have an issue.                                       7   essentially in the form of a stipulation, we ought to stick

 8                THE COURT: So if I had a short adjournment                   8   with it. I think that way nobody is prejudiced, we have

 9   and direct that somebody share that letter with their, you                9   limited discovery, we come back, and it's an even playing

10   know, with all witnesses, you know, non-parties as well as               10   field.

11   parties, and that those witnesses somehow make known to you              11               The only other thing I will say is, I may

12   all fairly expeditiously whether they need time to retain                12   have misunderstood something, but I distinctively recall

13   counsel or whether they are comfortable going forward and                13   discussing what witnesses, you know, were not going to

14   testifying and, you know, we wait a day or two, something                14   testify or what witnesses might come back as a rebuttal. I

15   like that, and see if anybody has any concerns in addition               15   never understood that SGS was a potential rebuttal witness.

16   to what has been expressed by the parties, and then I assess             16   In fact, my specific recollection is that Mr. Lucas told me

17   based on what that looks like whether I need a longer                    17   the only rebuttal witness he had was potentially Mr. Payne,

18   adjournment.                                                             18   who he would call on direct and then after our expert would

19                I recognize you have a request for discovery and            19   testify, Mr. Wolf, that he would recall potentially Mr.

20   you believe you have good cause for discovery and I need to              20   Payne
                                                                                   P ayn
                                                                                       ne as a rebuttal witness. I do not recall any reference

21   make a decision on that, but is there anything else I'm not              21   or discussion to, any discussion about anybody other than

22   thinking of that would be the decision point, and/or what is             22   Mr. Payne being a rebuttal witness. I will take -- I will

23   your position on maybe I don't need to decide on your good               23   take the blame for misunderstanding, but that is my

24   cause showing for discovery in a lengthy adjournment. Maybe              24   recollection.

25   I need to take just an interim step and see if my trial is               25               THE COURT: All right. Thank you.

                                                              118                                                                            120



 1   disrupted by, you know, witnesses now wanting to get advice               1               Mr. Lucas?

 2   of counsel before they show up and testify.                               2               MR. LUCAS: Yes. If I may, Your Honor, two

 3                MR. SENSING: Well, I think -- certainly, I                   3   points.

 4   mean, if Your Honor goes that route, I think it certainly                 4               Mr. Getty is just incorrect in his last, in his

 5   makes sense to, you know, so the witnesses aren't walking in              5   last recollection, because we actually spoke. He raised

 6   and getting ambushed is a little bit strong, but I mean,                  6   by name people from SGS a
                                                                                                           about whether or not they might be

 7   certainly that makes sense.                                               7   called and whether we might call them. I was telling him

 8                But our position would be, I think that would be             8   I did not intend to call them in our direct case, but they

 9   prejudicial though to my client because we have a situation               9   may be on rebuttal. I'm assuming that's just a faulty

10   where there are allegations in the letter that test results              10   recollection on his part.

11   have been falsified, and that is, if true, that is something             11               But the other point I just want to, just want

12   that is going to be extremely meaningful in the course of                12   to emphasize. You know, Your Honor mentioned yesterday some

13   this trial, and I'm just using this as one example, Your                 13   of the potential problems or issues that might arise with

14   Honor.                                                                   14   discovery and how it might expand beyond what was intended

15                And this is something that we need to take                  15   and things along those lines. My only point, just to make

16   discovery on before these folks testify. So I would                      16   in a short comment, is we're not asking you to make a ruling

17   respectfully oppose that suggestion, and I think, again, we              17   on discovery. You could still decide. The motion is held

18   think, my client thinks the agreement the parties reached                18   in abeyance is what our proposal is. You could still decide

19   last night to adjourn things for 45 or so days to take                   19   whether or not there should be discovery.

20   discovery on these issues, we think Your Honor should grant              20               As you saw from the proposal last night, the

21   that.                                                                    21   parties are talking about discovery. We couldn't reach a

22                THE COURT: All right. Anything else from your               22   quick agreement as to what the appropriate scope of

23   side, Mr. Sensing, at this point?                                        23   discovery would be, and so, I mean, it's not a question of

24                MR. SENSING: No, nothing at this point unless               24   discovery, not of discovery, even under the letter proposal

25   Mr. Getty wants to weigh in.                                             25   of last evening.

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 1                As was indicated there, the whole scope of                  1   is. We want five days to make either a joint discovery plan

 2    discovery, it has been talked about, it has not yet                     2   or each party's proposal, and then plaintiff, with great

 3    been decided, and it may be that the parties can reach                  3   reluctance, join in defendant's request.

 4    agreement if discovery is to go forward or it may be that               4               Clearly, I guess now it's clear, this is a

 5    they can't and have to come to the Court to resolve their               5   misunderstanding. You are preserving at least the option to

 6    differences.                                                            6   argue ultimately that discovery should not be reopened.

 7                THE COURT: But your position is that there                  7               MR. LUCAS: Or the extent to which discovery.

 8    should be some discovery. Right, Mr. Lucas?                             8   Even the letter last night raises that the parties can't --

 9                MR. LUCAS: No, Your Honor. I mean, I think                  9   even if there is discovery, Your Honor, if the parties can't

10    this is over. I mean, I have a fundamental difference of               10   agree as to the extent of discovery, that Your Honor would

11    opinion with defense counsel here. I will just be blunt.               11   have to make that determination. I mean, and, again, I can

12    I mean, I think this is an effort just to take discovery               12   understand your reading. I'm sitting here and listening to

13    after the discovery time period that they could have taken             13   you and I can understand your reading of the letter.

14    before.                                                                14               THE COURT: You alluded to, you know, that I

15                This idea that they didn't have this letter is             15   threw out the option, which is, one, frankly, I'm still

16    true, presumably, right, but the idea that they didn't, that           16   considering, that this letter, you know, didn't come in,

17    they didn't challenge the results of various test results in           17   or, more precisely, it came in at a time that was just too

18    this case were not accurate. Now, whether they thought they            18   late. Things happen, you know, on the eve of trial or

19    were falsified
           f         or not accurate, but these issues are issues            19   during trial all the time that that, you know, don't become

20    they certainly could have raised in discovery in this case.            20   part of the trial. You know, we had a record and the case

21    I mean, they made a comment yesterday that, you know, about            21   is being tried on that record.

22    not having access to these things. I mean, they, as I                  22               I would have thought last night was the time to

23    recall, certainly, they could subpoena non-parties, and                23   at least make clear you were reserving the right to push

24    they received documents from non-parties such as Norfolk               24   me for that position or, better yet, if that was your view,

25    Southern. I believe they received, I could be wrong on                 25   to say, you know, our position after careful thought,

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 1    this, but I believed they received documents from SGS. I                1   recognizing we only had half a day to think about it, but

 2    may be wrong, but they conducted discovery and third-party              2   our position is this letter should be excluded and we should

 3    discovery. They just didn't pursue these matters.                       3   go forward. There is no good cause for discovery. Let's

 4                So, no. I think discovery is over. I                        4   have this trial.

 5    understand their argument, but I think in the reality of                5               You didn't say that last night, you didn't even

 6    things, I think discovery is over, and one of the efforts               6   say it this morning, but only now, I understand you're, I

 7    here is just simply to extend discovery after the otherwise             7   guess, reserving the right to ultimately take that position.

 8    due date to get things, to inquire into subject matters                 8               MR. LUCAS: Well, I think -- again, I'm not

 9    that they could have inquired during the course of, during              9   trying to play games.

10    the course of the prior discovery.                                     10               I think the Court has the ultimate discretion

11                THE COURT: Mr. Lucas, I always appreciate when             11   on that, and we don't dispute that. And then if the Court

12    parties work things out. I still have the discretion to                12   decides it's appropriate, the Court would decide it's

13    accept or not accept their agreement. But I have to say I              13   appropriate and decide the extent to which.

14    see nothing in the letter last night and heard nothing even            14               Could the letter have been done better, Your

15    in your presentation this morning to indicate anything other           15   Honor, with more time? I, I take responsibility for that.

16    than that plaintiffs have already agreed that there should             16   The letter itself was put together, probably I think

17    be some discovery and that there's just a dispute as to when           17   Mr. Sensing would agree, maybe in the last 45 minutes before

18    it takes place and its scope.                                          18   it was being filed and trying to get something to you in

19                Now, again, I have discretion to say, you know,            19   a timely manner. And that's really all I can say, Your

20    I'm not persuaded that I should reopen discovery by the                20   Honor.

21    joint request, but the letter sets out, at least as I've               21               I'm not -- you know, could we have done better?

22    read it, I think a reasonable reading, defendants feel                 22   Yes.

23    compelled to request a short adjournment. Under this                   23               Did we do the best that we thought we could

24    proposal, each side would be permitted to take limited                 24   under the circumstances to get this information in to you

25    discovery. We're still talking about what that discovery               25   by 9:00 o'clock? I will tell you we did the best that we

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 1   thought we could do at the time.
                                                                            1   with our proposal to adjourn in connection, you know,
                                                                            2   justifying this additional discovery.
 2              And I'm sorry, I wasn't more careful in that,
                                                                            3                 But if Your Honor thinks that would be helpful,
 3   but what can I say now.
                                                                            4   that is certainly something we could do.
 4              THE COURT: At this point, though, you are
                                                                            5                 THE COURT: Okay. Thank you.
 5   not requesting to go forward with this trial if I'm going              6                 I'm going to need to take a recess and give a
 6   to allow the letter to be used even with Mr. Thrasher;                 7   little bit of thought to what you have proposed.
 7   correct?                                                               8                 Let's reconvene at 10:30. So about 40 minutes
 8              MR. LUCAS: That's the clarification, Your                   9   from now.

 9   Honor, that I told you I would need to get with Mr.                   10                 Well, let's go back into public court, and I

10   Thrasher. That's the one point that you raised today that
                                                                           11   will say that to everyone.
                                                                           12                 So, Marco, if you can take us back, that would
11   I indicated that is something I would have to clarify.
                                                                           13   be great.
12              THE COURT: But you certainly are clear on
                                                                           14                 MR. HEIM: Absolutely. As before, at the bottom
13   you're not prepared to call your nonparty witnesses,
                                                                           15   right you will see the leave room button, you can click on
14   certainly if the letter can be used. Let's start there.               16   that. I'll initiate the breakout.
15   Right? I understand that.                                             17                 THE COURT: Thank you.
16              MR. LUCAS: Yes, Your Honor. That's correct.                18                 (Virtual sidebar conference ends.)
17              THE COURT: How about if I were to rule the                 19
18   letter is out? Are you ready to go forward with the                   20           I hereby certify the foregoing is a true and accurate
                                                                                transcript from my stenographic notes in the proceeding.
19   nonparty witnesses?
                                                                           21
20              MR. LUCAS: No, Your Honor. That is better in
21   terms of getting away from the issues, but these issues are
                                                                           22                       /s/ Brian P. Gaffigan
22   so -- I mean, the subject matter in the letter are so, you
                                                                                                   Official Court Reporter
23   know, intertwined that I still think the same considerations          23                        U.S. District Court
24   with respect to the obligations and what's fair to these              24
25   nonparty witnesses would remain.                                      25
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 1              So you're absolutely right with respect to I
 2   would not be comfortable under either circumstance to go
 3   forward at this time with nonparty witnesses testifying.
 4              THE COURT: All right.
 5              Mr. Sensing, anything you want to add?
 6              MR. SENSING: No, Your Honor. Except, you
 7   know, again, we had an agreement, you know, when we were
 8   discussing these issues on the phone last night. It was not
 9   a situation of we're not -- we're reserving the right not to
10   agree to any discovery at all. It was, hey, we're going to
11   talk with the parameters. We're going to talk about whether
12   it's third party, whether it's party, we'll fight about that
13   another day.
14              But, again, I think this sort of multi-phased
15   situation that Mr. Lucas is proposing is prejudicial to my
16   clients. As I say, at the end of the day, we are going to
17   want to use that letter, use the discovery related to that
18   letter in our cross-examination of Mr. Thrasher. And, Your
19   Honor, you know, we are certainly willing, and if Your Honor
20   would want that, we could certainly do -- we could certainly
21   make a supplemental filing on this issue. I mean, obviously
22   this is something that sort of exploded in front of
23   everybody yesterday morning.
24              If Your Honor thinks it would be helpful, we
25   would be happy to make a supplemental filing in connection
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